               CASE 0:20-cr-00129-NEB-HB Doc. 14 Filed 06/30/20 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
                                                                            Ctr,    &o-\aq          NvBf       *B
 UNITED STATES OF AMERICA,                             INDICTMENT

                         Plaintiff,                    18   U.S.C. S 8aa(c)
                                                       18   U.S.C. S 844(i)
          v.                                           18   U.S.C. S 853(p)
                                                       18   u.S.C. S e82(a)(2)(B)
 SAMUEL ELLIOTT FREY,                                  18   U.S.C. S e82(bx1)
                                                       28   U.S.C. $ 2a61(c)
                         D"efendant.

         ,THE UNITED STATES GRAND JURY CHARGES THAT:

                                        COUNT      1
                                         (Arson)

         On or about May 28, 2020, in the State and District of Minnesota, the

defendant,

                                 SAMUEL ELLIOTT FREY,

maliciously damaged and destroyed, and attempted to damage and d.estroy, by means

cjf   fire, a building used in interstate or foreign commerce and in activity affecting

interstate or foreign commerce, namely, the Great Health and Nutrition retail store

Iocated    at   1360 University Avenue West,   iir St. PauI, Minnesota, all in violation of

Title 18, United States Code, Section 844(i).

                              FORFEITURE ALLEGATIONS

         If convicted of Count 1of this Indictment, the defendant, SAMUEL ELLIOTT

FREY, shall forfeit to the United States of America, pursuant to Title 18, United

States Code, Section 9S2(a)(2)(B), any property constituting, or derived, from,

proceeds obtained, directly or indirectly, as a result of such violation,
                                                                                      SCANNED
                                                                                       JUI{ 3 0 2[20
                                                                                    U.S. DISTRICT COURT MPLS
            CASE 0:20-cr-00129-NEB-HB Doc. 14 Filed 06/30/20 Page 2 of 2

United States v. Samuel Elliott Frev


to Title 18, United States Code, Section 8aa@) and Title 28, United States          Code,

Section 24,6I(c), any explosive materials involved or used or intended to be used in

the violation.

       If   any of the above-described forfeitable property is unavailable for forfeiture,

the United States intends to seek the forfeiture of substitute property as provid.ed. for

in Title 21, United States Code, Section 853fu), as incorporated by Title 18, United

States Code, Section 982(bX1) and Title 28, United States Code, Section 2a6lk).



                                       A TRUE BILL




UNITED STATES ATTORNEY                            FOREPERSON
